Case 21-03020-sgj Doc 134 Filed 10/25/21   Entered 10/25/21 17:17:26   Page 1 of 3




                                EXHIBIT G
           Case 21-03020-sgj Doc 134 Filed 10/25/21                           Entered 10/25/21 17:17:26        Page 2 of 3




         PRIVATE AND CONFIDENTIAL
                                                                                    Your Ref
         Latham & Watkins LLP
                                                                                    Our Ref    SL/50001151/0001
         555 Eleventh Street, N.W.
         Suite 1000                                                                 Doc.       10963685.1
         Washington, DC 20004-1304
         United States of America                                                                           23 July 2021
         Attn: Jason R. Burt
                                                                                                              BY EMAIL




         Dear Sirs

         SENTINEL REINSURANCE, LTD ("SENTINEL")

         We refer to your letter dated 21 July 2021 in which you request a response by 23 July 2021.

         You continue to make serious allegations against our client. Whilst we do not accept that
         Sentinel has knowingly participated in any fraudulent activity, the directors of Sentinel have
         every intention of cooperating fully with their legal obligations and to the extent they are legally
         compelled to do so.

         The current directors of Sentinel have only recently been appointed. Their respective
         appointments became effective between 28 May 2021 and 30 June 2021. They are each
         professional directors who are each independent of all service providers and shareholders of
         Sentinel. None of the new directors have ever been in contact with Mr Ellington or Mr Dondero
         and the allegation that Sentinel is assisting these individuals in hiding assets is categorically
         denied. The directors are working hard to secure Sentinel's assets and assess the various
         allegations being made and will preserve the status quo until the necessary due diligence has
         been concluded.

         To that end and as stated in our previous letter to you on 15 July 2021, we have been in the
         process of seeking US legal advice in order to be able to engage with you fully. Unfortunately,
         we have not been able to find appropriate representation until earlier today and as such, we will
         not be in a position to provide a fulsome response in this letter. Given we have indicated that we
         intend to engage with you constructively, we find your letters and the imposition of aggressive
         and arbitrary deadlines wholly unnecessary. The fact that the new directors of Sentinel are
         taking time to conduct due diligence and ensure they are properly advised should make your
         client feel confident that they are taking their fiduciary obligations seriously. We do not wish to
         litigate by correspondence and hope to be in a position to provide a full response to your
         previous letters by 28 July 2021.

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A Cayman Partnership. A list of partners is available at the above address.
 Case 21-03020-sgj Doc 134 Filed 10/25/21       Entered 10/25/21 17:17:26   Page 3 of 3




Yours faithfully




COLLAS CRILL

Direct Tel: +1 345 914 9605
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